                                                                                     Jo Saint-George
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November 20, 2024

Honorable Eric Komitee
United States District Court
Eastern District of New York
225 Cadman Plaza East, Courtroom 6G North
Brooklyn, New York 11201


              Re:     RESPONSE TO NOV 13, 2024 ORDER
                      Women of Color For Equal Justice et al v. New York, et. al Civil
                      Action No: 22-cv-02234

Dear Judge Komitee:

I received a call a bit ago from your clerk regarding your Order of November 13, 2024. By this
Letter, I am confirming receipt of your November 13, 2024 Order.

Further, in response to the Court’s Order, attached please find my sworn Declaration explaining the
administrative mistake that caused Mr. Whitsett and a few other parties to be named in the above
reference case. Also, as of my Notice of Amended Appeal filed on November 11, 2023 at
ECF #115 filed before this Court’s Order, I believe that the error regarding the improper naming of Mr.
Whitsett should be corrected in the docket. Nevertheless, the Declaration provides the details
 regarding the cause of the error.

If any additional information is needed, please let me know.


Respectfully Submitted,

 /s/ Jo Saint-George
 Jo Saint-George




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